          Case 3:18-cr-00072-HZ          Document 48        Filed 07/26/19     Page 1 of 5




Mark Ahlemeyer, OSB No. 095997
Assistant Federal Public Defender
Email: mark_ahlemeyer@fd.org
101 SW Main Street, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524

Attorney for Defendant




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


 UNITED STATES OF AMERICA,
                                                        Case No. 3:18-cr-00072-HZ
                                 Plaintiff,
                                                        REPLY TO GOVERNMENT’S
                         v.                             RESPONSE TO
                                                        DEFENDANT’S MOTION TO
 TYRONE LAMONT ALLEN,                                   SUPPRESS

                                 Defendant.


       The government characterizes Mr. Allen’s motion as seeking a “windfall” because

“investigators were able to take steps to counteract his efforts to disguise his identity.” Resp. at 11.

First, Mr. Allen does not seek a windfall; he seeks to enforce the constitutional right to due process

which guarantees fundamental fairness in criminal proceedings. Second, the government’s

response confirms the exact problem in this case:            (1) with minimal probative evidence,

investigators concluded that Mr. Allen was the bank robber; (2) they were aware that the bank

robber appeared not to have facial tattoos, so they hypothesized that Mr. Allen must have worn

make-up; (3) they digitally altered Mr. Allen’s photograph to conform his appearance to their


Page 1 REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS
          Case 3:18-cr-00072-HZ         Document 48        Filed 07/26/19      Page 2 of 5




theory of the case; and (4) they used that false image to secure at least two positive identifications

from the four bank teller victims.1 This rigging of the photo array process was unnecessary, created

unreliable evidence, and denied Mr. Allen the fundamental fairness a criminal defendant is entitled

to. Accordingly, any positive identification evidence against Mr. Allen should be suppressed either

under the due process clause or pursuant to this Court’s inherent supervisory powers.2

       The government does not point to any exigency or emergency that required the

identification procedures used in this case. Instead, the government claims that it was necessary

for investigators to alter Mr. Allen’s photograph to avoid having his “prominent and distinctive

facial tattoos” cause him to be “singled” out in the line-up. Resp. at 12. This argument might have

passing appeal in a case where a witness noticed and reported a “prominent and distinctive”

feature, but that did not happen here. As the government concedes, no victim teller reported that

the robber had facial tattoos. Thus, it strains credulity to argue that there was a danger that Mr.

Allen would have been singled out because he had a prominent facial feature that did not match

the witnesses’ reports or the objective video evidence.

       In any event, even in cases where witnesses do report a prominent facial feature, courts

have not suppressed identification evidence when a suspect’s picture is the only one in a photo

array with that feature. For example, in United States v. Ryono, 867 F.2d 614 (9th Cir. 1989)

(unpublished), a bank teller reported that the robber had “a scar on his right cheek,” which the


1
  Despite the case agent’s sworn declaration otherwise (CR 1 at 15), the government now alleges
that a third teller also identified Mr. Allen. This new claim raises questions about evidence
handling procedures and chain of custody issues. With respect to the current motion, this new
allegation only underscores the lack of reliability of the identification procedures used in this case.
2
  The government’s Response does not address the defense argument regarding suppression under
the Court’s supervisory power. Accordingly, this Reply does not address that issue further.


Page 2 REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS
          Case 3:18-cr-00072-HZ         Document 48        Filed 07/26/19      Page 3 of 5




defendant did. Id. at *3. Additionally, the defendant was the only individual in the photo array that

had such a scar on his right cheek. Nonetheless, both the district court and the Ninth Circuit held

that the array was not impermissibly suggestive. Id. The Ninth Circuit noted that “[d]istinctive

scars or birth marks are often the type of characteristics which make it difficult for law enforcement

officers to find similar photographs to place in a photospread.” Id. In such situations, it may be

necessary for law enforcement to include a photo of a suspect that does stand out compared to the

others, simply because matching filler photos cannot be found.3 Given that courts have not

suppressed identification evidence where a suspect’s photo is the only one with a reported

distinctive feature, the claim that it was legally “necessary” for the government to digitally remove

an unreported distinctive feature is simply unsupported by precedent.

       The government does not take the position, however, that it could not find appropriate

matching filler photos. Instead, it claims that doing so would have “increased the likelihood of a

misidentification.” Resp. at 13. This is so, the government says, because using a photo array where

all individuals had facial tattoos “would have been inconsistent with the descriptions provided by

the victim tellers.” Id. But this is circular reasoning and only begs the question. It is true that the

bank tellers did not report seeing facial tattoos on the robber, so a photo array including multiple

suspects with facial tattoos may have increased the likelihood that a teller would not make any

identification. That is different than a “misidentification,” which presumes Mr. Allen’s guilt and

assumes the accuracy of the government’s theory that he wore a disguise. In reality, the

government’s argument belies the real goal of investigators—they had concluded that Mr. Allen


3
  Alternatively, if investigators are truly concerned about having a suspect’s distinctive features
stand out in a photo array, they are free to digitally alter the filler photos to more closely mimic
the suspect’s features.


Page 3 REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS
          Case 3:18-cr-00072-HZ         Document 48       Filed 07/26/19      Page 4 of 5




was guilty, they came up with a theory of how he could have changed his appearance to match

victim reports and the objective video, and they created a photo array that maximized the likelihood

of Mr. Allen being selected by making his picture consistent with what the robber looked like.

This was an unnecessarily suggestive procedure that resulted in an inherently unreliable

identification.

        The government does not directly address Mr. Allen’s argument that sanctioning the

material alteration of a suspect’s photo is a slippery slope without a limiting principle. The

government does claim that the “investigators did not alter any of defendant’s immutable facial

features” when they digitally erased his elaborate facial tattoos. Resp. at 15. This statement appears

to be the closest to a limiting principle offered by the government. However, it is not at all clear

what the government means by “immutable facial features” or why facial tattoos do not fall under

that category. While the government claims that make-up can cover such tattoos, it ignores the

vast array of other cosmetic products that can change people’s appearances. A simple internet

search reveals that easily available products can be used to change the appearance of someone’s

nose, jaw, eye color, or pretty much any facial feature.4 Under the approach the government asks

this Court to adopt, nothing prevents investigators from changing a suspects “immutable” facial

features because, in reality, any feature can be disguised through cosmetics. Allowing the

government to present identification evidence at trial that is based on doctored source images does

not enhance the truth-seeking function of a jury and only risks increasing the likelihood of




4
  See, e.g., https://www.cosmopolitan.com/style-beauty/beauty/a25058103/instagram-fake-wax-
nose-job-videos/


Page 4 REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS
          Case 3:18-cr-00072-HZ         Document 48        Filed 07/26/19      Page 5 of 5




convicting innocent defendants. The Court should not allow the government to begin down this

dangerous road.

       For the reasons set forth in the initial Defense Memorandum and those stated above, Mr.

Allen respectfully requests the Court suppress any positive identification evidence against him that

is based on, or related to, the use of a fake picture of him in the photo line-up.



       RESPECTFULLY submitted this 26th day of July, 2019.


                                               /s/ Mark Ahlemeyer
                                               Mark Ahlemeyer
                                               Assistant Federal Public Defender




Page 5 REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS
